
¶ 1 Department I of the Court, composed of Chief Justice Fairhurst and Justices Johnson, Owens, Wiggins and Gordon McCloud, considered at its April 3, 2018, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the petition for review is granted. The Petitioner's motion to take judicial notice of other ballot titles is also granted. Any party may serve and file a supplemental brief within 30 days of the date of this order, see RAP 13.7(d).
For the Court.
/s/ Fairhurst, C.J.CHIEF JUSTICE
